                  Case 3:15-cv-03747-JD Document 522
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                                                                                                    Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                    )
     Patel, individually & on behalf of class                      15 cv 3747
                                                      )   Case No: _______________
 4                                                    )
                                     Plaintiff(s),    )   APPLICATION FOR
 5                                                    )   ADMISSION OF ATTORNEY
             v.
                                                      )   PRO HAC VICE
 6   Facebook, Inc.                                   )   (CIVIL LOCAL RULE 11-3)
                                                      )
 7                                                    )
                                     Defendant(s).
                                                      )
 8
         I, Paúl Camarena                         , an active member in good standing of the bar of
 9    U.S. Dist. Ct. N. Dist. Ill. , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: objector Kara Ross                           in the
     above-entitled action. My local co-counsel in this case is __________________________________,
                                                                Amie D. Miller                          an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      500 So. Clinton St., No. 132                         369 Pine St., No. 725
14    Chicago, IL 60607                                    San Francisco, CA 94104
       MY TELEPHONE # OF RECORD:                            LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (312) 493-7494                                       (415) 906-2321
       MY EMAIL ADDRESS OF RECORD:                          LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    paulcamarena@paulcamarena.com                        admlaw@sbcglobal.net
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 3991981      .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 01/06/21                                                Paúl Camarena
22                                                                                APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Paúl Camarena                                is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication    ion with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: 1/13/2021
                                                                UNITED STATES
                                                                        TATES DISTRICT JUDGE October 2012

     PRO HAC VICE APPLICATION & ORDER
